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                  UNITED STATES COURT OF INTERNATIONAL TRADE

__________________________________________
                                          )
VIETNAM FINEWOOD COMPANY LIMITED, )
FAR EAST AMERICAN, INC. AND               )
LIBERTY WOODS INTERNATIONAL, INC.         )
                                          )
                        Plaintiffs,       )
         v.                               )                 Ct No. 22-00049
                                          )
UNITED STATES,                            )
                                          )
                        Defendant.        )
__________________________________________)


                                         COMPLAINT

     Vietnam Finewood Company Limited (“Finewood”), Far East American, Inc. (“FEA”), and

Liberty Woods International, Inc. (Liberty), by their undersigned attorneys, hereby bring this

civil action and allege the following:

                                             Parties

1.   Finewood is a privately held company organized under the laws of Vietnam. Finewood

     produces hardwood plywood in Vietnam and exports hardwood plywood to the United

     States.

2.   FEA and Liberty are U.S. importers of hardwood plywood manufactured by Finewood.

3.   Defendant is the United States of America, acting by and through the U.S. Department of

     Commerce (“Commerce”).

                        Administrative Determination to be Reviewed

4.   Plaintiffs seek judicial review of Commerce’s final scope determination issued on January



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     21, 2022 concerning the antidumping and countervailing duty orders on hardwood plywood

     from the People’s Republic of China. See Memorandum from Nicolas Mayora.

     International Trade Analyst, Office V, AD/CVD Operations to James Maeder, Deputy

     Assistant Secretary for AD/CVD Operations Regarding Antidumping Duty and

     Countervailing Duty Orders on Certain Hardwood Plywood Products from the People’s

     Republic of China, Enforcement and Protect Act (EAPA) Investigation No. 7252, Final

     Scope Ruling (Jan. 21, 2022) (“Scope Ruling”).

                                  Procedural Background

5.   Commerce issued antidumping and countervailing duty orders against imports of hardwood

     plywood from China on January 4, 2018. Dep’t Commerce, Certain Hardwood Plywood

     from the People’s Republic of China, Antidumping Order, 83 Fed. Reg. 504 (Jan. 4, 2018)

     and Certain Hardwood Plywood from the People’s Republic of China, Countervailing Duty

     Order, 83 Fed. Reg. 513 (Jan. 4, 2018) (the “Orders”).

6.   On August 15, 2018 and pursuant to Title IV, Section 421 of the Trade Facilitation and

     Trade Enforcement Act of 2015, commonly referred to as the “Enforce and Protect Act” or

     “EAPA,” U.S. Customs and Border Protection (“CBP”) initiated investigations of evasion

     against FEA, Liberty, and three additional U.S. importers of hardwood plywood, produced

     by Finewood in Vietnam.

7.   On November 29, 2018, CBP notified FEA, Liberty, and the other importers of its initiation

     of the investigations and imposed interim measures, which included the suspension of the

     importers’ unliquidated entries of hardwood plywood from Finewood. CBP consolidated

     the investigations of the five targeted importers under EAPA Investigation 7252.


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8.    On September 25, 2019 CBP informed FEA and Liberty that, pursuant to EAPA regulation

      19 CFR §165.16, CBP had referred the matter to Commerce for a scope determination. See

      also 19 U.S.C. § 1517(b)(4).

9.    On December 27, 2019, Finewood, FEA, and U.S. importer InterGlobal Forest LLC

      instituted an action in the Court of International Trade (“CIT”) pursuant to 28 U.S.C. §

      1581(i)(1)(B) and (D), in which Liberty intervened as Plaintiff-Intervenor, claiming (i)

      CBP failed to conclude its EAPA Investigation within the statutory time frame provided for

      in 19 U.S.C. §§ 1517(c)(1)(A) & (B), and (ii) CBP’s scope referral to Commerce was

      untimely. See Vietnam Finewood Company Limited, et al. v. United States, Court No. 19-

      00218 (“Finewood I”), ECF Doc. 5.

10.   On January 13, 2020, Commerce initiated a scope inquiry, allegedly based on CBP’s scope

      referral although Commerce indicated in its initiation notice that the scope inquiry was

      “self-initiated.” See Dep’t Commerce, Certain Hardwood Plywood From the People’s

      Republic of China: Notice of Covered Merchandise Referral and Initiation of Scope

      Inquiry, 85 Fed. Reg. 3024 (Jan. 17, 2020) (“DOC Initiation Notice”).

11.   On March 11, 2020 and March 19, 2020, Commerce sent liquidation instructions to CBP to

      liquidate all entries exported by Finewood.

12.   On March 20, 2020 and March 27, 2020, CBP liquidated all of FEA’s and Liberty’s entries

      of imports of Finewood's merchandise that are subject to the ongoing CBP EAPA

      Investigation and Commerce’s Scope Inquiry.

13.   On July 31, 2020, the Court issued an Opinion and Order in Finewood I denying Plaintiffs’




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      Motion for Leave to File a Supplemental Complaint and granting the Government's Motion

      to Dismiss for lack of subject-matter jurisdiction. The same day, the Court entered a

      judgment dismissing Finewood I, ECF Doc. Nos. 67 & 68.

14.   On August 5, 2020, Liberty Woods International, Inc. instituted an action in the CIT

      pursuant to 28 U.S.C. § 1581(i)(1)(B) and (D) contesting CBP’s premature liquidations.

      See Liberty Woods International, Inc. v. United States, Court No. 20-00143, ECF Doc.

      Nos. 1 & 2 (“Liberty Woods”).

15.   On August 14, 2020, Finewood, FEA, and U.S. importer InterGlobal Forest LLC instituted

      an action in the CIT pursuant to 28 U.S.C. § 1581(i)(1)(B) and (D) contesting CBP’s

      premature liquidations. See Vietnam Finewood Company Limited, et al. v. United States,

      Court No. 20-00155 (“Finewood II”), ECF Doc. Nos. 1 & 5.

16.   On August 24, 2020, Liberty protested the liquidation of its entries of hardwood plywood

      produced by Finewood, Protest No. 130320105665.

17.   On September 10, 2020, FEA protested the liquidation of its entries of hardwood plywood

      produced by Finewood, Protest No. 130320102534.

18.   On November 3, 2020, the CIT stayed further proceedings in Ct. No. 20-00143, and on

      November 10, 2020, the CIT stayed further proceedings in Ct. No. 20-00155, pending

      CBP’s final determination in EAPA Inv. 7252 or 15 days after CBP decides FEA’s and

      Liberty’s protests if such decision occurs prior to CBP’s final EAPA determination. CIT

      Ct. No. 20-00143, ECF Doc. 13 and CIT Ct. No. 20-00155, ECF Doc. No. 12.

19.   On February 2, 2022, the Court convened a teleconference with all of the parties in




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      Finewood II, CIT Ct. No. 20-00155 to discuss whether and to what extent Commerce’s

      scope determination required a lifting of the stay in Ct. No. 20-00155. ECF Doc. No. 20.

                                           Jurisdiction

20.   This action is brought pursuant to 19 U.S.C. §§ 1516a(a)(2)(A)(ii) and (B)(vi) to contest

      Commerce’s Scope Ruling.

21.   CBP’s ongoing EAPA Inv. 7252 does not preclude this action. The EAPA statute’s rule of

      construction in 19 U.S.C. § 1517(b)(4)(D) concerning CBP’s scope referrals to Commerce

      states: “{n}othing in this paragraph shall be construed to affect the authority of an

      interested party to commence an action in the United States Court of International Trade

      under section 1516a(a)(2) of this title with respect to a determination of the administering

      authority under this paragraph.”

22.   Accordingly, and notwithstanding CBP’s premature liquidation of FEA’s and Liberty’s

      entries, this Court has jurisdiction in accordance with 28 U.S.C. § 1581(c).

23.   CBP has suspended action on FEA’s and Liberty’s protests. See Court Order and Joint

      Motion to Stay Further Proceedings, Finewood II, ECF Doc. No. 12; and Court Order and

      Joint Motion to Stay Further Proceedings, Liberty Woods, ECF Doc. Nos. 12 & 13.

24.   Further, in accordance with 19 U.S.C. § 1514(b), CBP’s liquidation of FEA’s and Liberty’s

      entries will not be final and conclusive during the pendency of this litigation (“{w}ith

      respect to determinations made under . . . subtitle IV of this chapter which are reviewable

      under section 1516a of this title, determinations of the Customs Service are final and

      conclusive upon all persons (including the United States and any officer thereof) unless a




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      civil action contesting a determination listed in section 1516a of this title is commenced in

      the United States Court of International Trade . . ..”). The Court may consider the

      provision of 19 U.S.C. § 1514(b) to be a so-called “agency-based injunction.”

25.   The liquidation of FEA’s and Liberty’s entries has not rendered judicial review of

      Commerce’s Scope Ruling moot. The proper scope of the Orders on hardwood plywood at

      issue here affects the ultimate outcome of CBP’s EAPA Inv. 7252 as well as CBP’s final

      disposition of FEA’s and Liberty’s pending protests. FEA’s and Liberty’s future entries of

      similar merchandise are also affected by the outcome of the Court’s judicial review of

      Commerce’s Scope Ruling.

26.   If recourse to this Court under 19 U.S.C. § 1516a(2) and 28 U.S.C. § 1581(c) is

      unavailable because CBP has liquidated all of Plaintiffs’ entries with AD and CVD duties,

      then, alternatively, this Court has jurisdiction in accordance with 28 U.S.C. § 1581(i)(1)(B)

      (concerning tariffs and fees) and (D) (concerning the enforcement of the trade laws) to

      review Commerce’s Scope Ruling.

27.   But for CBP’s premature liquidation of FEA’s and Liberty’s entries, Plaintiffs would have

      a cause of action for judicial review of Commerce’s Scope Ruling under 19 U.S.C. §§

      1516a(a)(2)(A)(ii) and (B)(vi), and this Court would have jurisdiction over the action under

      28 U.S.C. § 1581(c). Plaintiffs’ claims against Commerce and CBP for the premature

      liquidation of FEA’s and Liberty’s entries are before the Court in Finewood II and Liberty

      Woods.

28.   Neither Commerce nor CBP may deprive this Court of jurisdiction by means of premature

      or illegal actions because 28 U.S.C. § 1581(i)(1)(B) & (D) grant the CIT "exclusive


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      jurisdiction of any civil action commenced against the United States . . . that arises out of

      any law of the United States providing for . . . tariffs, duties, fees, or other taxes on the

      importation of merchandise for reasons other than the raising of revenue." "The Court of

      International Trade shall possess all the powers in law and equity of, or as conferred by

      statute upon, a district court of the United States." 28 U.S.C. § 1585.

                                                  Standing

29.   Plaintiff Finewood is a foreign exporter of the merchandise subject to Commerce’s scope

      inquiry. Plaintiffs FEA and Liberty are U.S. importers of the merchandise subject to

      Commerce’s scope inquiry. Accordingly, Plaintiffs qualify as interested parties within the

      meaning of 19 U.S.C. §§ 1516a(f)(3) and 1677(9)(A).

30.   In addition, because the Department made a final determination that was not lawful,

      Plaintiffs have been adversely affected or aggrieved by agency action within the meaning

      of 5 U.S.C. § 702. Therefore, Plaintiffs have standing to bring this action under 28 U.S.C.

      § 2631(c).

                                              Timeliness

31.   An action under 28 U.S.C. § 1581(c) must be commenced within 30 days after the date

      Commerce mailed its Scope Ruling. 19 U.S.C. §§ 1516a(a)(2)(A)(ii) & (B)(vi). Plaintiffs

      filed its summons on this date, February 18, 2022, within thirty days of the date Commerce

      mailed its Scope Ruling to the parties on January 21, 2022.

32.   An action under 28 U.S.C. § 1581(i) must be commenced within two years after the cause

      of action first accrues. 28 U.S.C. § 2636(i). Commerce issued its Scope Ruling on January




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      21, 2022. Thus, this action is timely filed.

                                               Facts

33.   Commerce published its antidumping and countervailing duty orders on hardwood

      plywood from China on January 4, 2018. Certain Hardwood Plywood from the People’s

      Republic of China: Antidumping Order, 83 Fed. Reg 504 (Dept. Commerce, Jan. 4, 2018);

      Certain Hardwood Plywood from the People’s Republic of China: Countervailing Duty

      Order, 83 Fed. Reg. 513 (Dept. Commerce, Jan. 4, 2018) (together: the “Orders”).

34.   Commerce defined the scope of the Orders as follows:

               The merchandise subject to this investigation is hardwood and decorative
               plywood, and certain veneered panels as described below. For purposes of this
               proceeding, hardwood and decorative plywood is defined as a generally flat,
               multilayered plywood or other veneered panel, consisting of two or more layers
               or plies of wood veneers and a core, with the face and/or back veneer made of
               non-coniferous wood (hardwood) or bamboo. The veneers, along with the core
               may be glued or otherwise bonded together. Hardwood and decorative plywood
               may include products that meet the American National Standard for Hardwood
               and Decorative Plywood, ANSI/HPVA HP-1-2016 (including any revisions to
               that standard).

               For purposes of this investigation a “veneer” is a slice of wood regardless of
               thickness which is cut, sliced or sawed from a log, bolt, or flitch. The face and
               back veneers are the outermost veneer of wood on either side of the core
               irrespective of additional surface coatings or covers as described below.

               The core of hardwood and decorative plywood consists of the layer or layers
               of one or more material(s) that are situated between the face and back
               veneers. The core may be composed of a range of materials, including but not



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                  limited to hardwood, softwood, particleboard, or medium-density fiberboard
                  (MDF).

      Id. at Appendix. {Emphasis added}. The scope of the Orders makes clear that the subject

      merchandise must consist of at least two plies and a core. A two-ply product is not within

      the scope of the Orders.

35.   On January 13, 2020, after commencement of Finewood II, Commerce initiated a scope

      inquiry, allegedly based on CBP’s scope referral although Commerce indicated in its

      initiation notice that the scope inquiry was “self-initiated.” See Dep’t Commerce, Certain

      Hardwood Plywood From the People’s Republic of China: Notice of Covered Merchandise

      Referral and Initiation of Scope Inquiry, 85 Fed. Reg. 3024 (Jan. 17, 2020) (“DOC

      Notice”).

36.   CBP’s scope referral to Commerce relied on the following facts: Finewood produced

      finished plywood, importing two-ply from China under HTSUS 4412; Finewood

      outsourced some of the Chinese veneer to tollers in Vietnam to “develop” the Chinese

      cores; Finewood applied hardwood face and back veneer to the self-produced or tolled

      cores and exported the finished plywood to the United States.

37.   On March 11, 2020 and March 19, 2020, Commerce sent instructions to CBP to liquidate

      entries of Finewood’s merchandise “at the cash deposit rate required at the time of entry”.

      Commerce’s instructions were in violation of 19 CFR §351.225(l)(1)(2020), which requires

      Commerce to continue suspension of liquidation of entries that are already subject to

      suspension of liquidation during a pending scope inquiry.

38.   On March 12, 2020, as part of its scope inquiry, Commerce issued a questionnaire to



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      Finewood, duplicating CBP’s requests for information in EAPA Inv. No. 7252, and to

      which Finewood responded on April 9, 2020 and April 23, 2020.

39.   On March 20, 2020, CBP began unlawfully liquidating the FEA’s and Liberty’s entries of

      Finewood’s merchandise assessing AD and CVD duties of 206%, even though the cash

      deposit rate required at the time of entry was 0.00%.

40.   On April 17, 2020, Plaintiffs alerted CBP to these premature liquidations, to which CBP

      replied that it had received liquidation instructions from Commerce and was required to

      follow Commerce’s instructions.

41.   On April 23, 2020, Plaintiffs wrote to Commerce requesting that Commerce issue

      instructions to CBP to reverse liquidation of entries of merchandise produced by Finewood

      and further suspend liquidation of these entries, to which Commerce replied on May 18,

      2020 that it had no legal authority to direct CBP to re-suspend liquidated entries.

42.   In its final scope ruling Commerce determined that two-ply is covered by the scope of the

      Orders.

43.   Commerce found that the Orders cover two general types of merchandise: (1) hardwood

      and decorative plywood, and (2) certain veneered panels, and although the scope defines

      “hardwood and decorative plywood,” the scope does not define “certain veneered panels”

      despite the clear scope language that “multilayered plywood or other veneered panels”

      must consist of two or more layers or plies of wood veneers and a core. In its analysis

      of the scope language, Commerce ignored the fact that the scope language states that

      “certain veneered panels” are defined in the scope text and then the text defines “other




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      veneered panels” as having a minimum of three plies.

44.   Finding ambiguity in the scope language where there is none, Commerce proceeded to

      analyze the factors and source materials included in 19 CFR § 351.225(k)(1)(2020) (“(k)(1)

      materials”). In so doing, Commerce claimed that it need consider only information that

      either Commerce or the parties put on the record.

45.   Commerce rejected Plaintiffs’ references in their case brief to (k)(1) materials from the

      original investigation. These source materials include ''{t}he descriptions of the

      merchandise contained in the petition, the initial investigation, and the determinations of

      the Secretary (including prior scope determinations) and the Commission.'' Commerce

      claimed that it was not obligated to consider the (k)(1) materials not on the administrative

      record of its current scope investigation.

46.   Commerce also rejected the argument that the U.S. International Trade Commission

      (“ITC”) did not investigate two-ply in its injury investigation, finding that no party placed

      the complete ITC Final Report on the record. Despite the fact that the ITC defined the

      scope merchandise as consisting of a minimum of three plies, Commerce stated that the

      ITC also included “certain veneered panels” in its investigation, even though no party,

      including the Petitioner, Commerce, or the ITC ever defined “certain veneered panels” as

      potentially consisting of only two plies.

47.   Although Commerce noted in its analysis that the ITC stated that a “plywood core” can be

      composed of only two plies, the scope of the Orders does not cover plywood cores as

      subject merchandise.




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48.   Commerce next analyzed whether Finewood’s two-ply imported from China was

      substantially transformed in Vietnam by Finewood’s incorporation of the panels in its

      production of finished hardwood plywood. Rejecting the substantial evidence that

      Plaintiffs put on the record of the case to show substantial transformation, Commerce

      concluded that the two-ply was not substantially transformed in Vietnam, i.e., as result of

      Finewood’s manufacturing processes in Vietnam, the imported two-ply did not lose its

      identity and was not transformed into a new product with a new name, character, and use.

49.   In particular, in its substantial transformation analysis, Commerce improperly compared

      two-ply from China with the two-ply that Finewood used in the production of finished

      hardwood plywood in Vietnam. Commerce rejected the proper comparison of the upstream

      product - two-ply - with Finewood’s downstream product – finished hardwood plywood

      composed of seven or more plies.


                                            COUNT I

50.   The allegations of paragraphs 1 through 49 are restated and incorporated herein by

      reference.

51.   Commerce’s conclusion that two-ply is covered by the Orders is not reasonable in light of

      the clear scope language defining the subject merchandise as consisting of a minimum of

      three plies. Commerce’s conclusions are arbitrary and capricious and not supported by

      substantial evidence because the scope language states that “certain veneered panels are

      “defined below”; and the next sentence defines “other veneered panels” as having a

      minimum of three plies. Commerce cannot issue an interpretation that changes the scope




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      of the order nor ''interpret an order in a manner contrary to its terms.'' See Duferco Steel

      Inc. v. United States, 296 F.3d 1087, 1094-95 (Fed. Cir. 2002).

52.   Substantial evidence is "such relevant evidence as a reasonable mind might accept as

      adequate to support a conclusion." DuPont Teijin Films USA v. United States, 407 F.3d

      1211, 1215 (Fed. Cir. 2005) (quoting Consol. Edison Co. v. NLRB, 305 U.S. 197, 229,

      (1938)).

                                                COUNT II

53.   The allegation of paragraphs 1 through 52 are restated and incorporated herein by

      reference.

54.   Commerce's final scope ruling unlawfully expands the scope to include merchandise that

      was not part of the ITC’s final injury determination. "A fundamental requirement of both

      U.S. and international law is that an antidumping duty order must be supported by an ITC

      determination of material injury covering the merchandise in question." Wheatland Tube

      Co. v. United States, 973 F.Supp. 149, 158 (Ct. Int'l Trade 1997), aff'd, 161 F.3d 1365

      (Fed. Cir. 1998).


                                            COUNT III

55.   The allegation of paragraphs 1 through 54 are restated and incorporated herein by

      reference.

56.   In its analysis of the (k)(1) factors in this case, Commerce unlawfully rejected substantial

      evidence from the original investigation, including the descriptions of the merchandise

      contained in the petition, the initial investigation, and the ITC’s injury determinations that



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      show that the investigation did not, and was not intended to, cover two-ply. Neither

      Commerce’s regulations nor relevant case law allows Commerce to disregard relevant

      (k)(1) materials when Commerce finds the scope language ambiguous or must reference

      the (k)(1) materials to interpret the scope language. See, e.g., Mid Continent Nail Corp. v.

      United States, 725 F.3d 1295, 1302 (Fed. Cir. 2013): “{i}f the language is ambiguous,

      Commerce must next consider the regulatory history, as contained in the so-called "(k)(1)

      materials" {emphasis added}.


                                            COUNT IV

57.   The allegation of paragraphs 1 through 56 are restated and incorporated herein by

      reference.

58.   Commerce’s substantial transformation analysis is arbitrary and capricious because

      Commerce improperly applied the factors for evaluating the substantial transformation of

      an upstream product into a downstream product. Commerce avoided the “transformation”

      part of the test by focusing only on Chinese two-ply whereas plywood’s essential

      characteristics require three plies. “‘[A]n agency determination that is arbitrary is ipso

      facto unreasonable,’ and a determination is arbitrary when it fails to ‘consider an important

      aspect of the problem,’ or ‘treat[s] similar situations in dissimilar ways.’” Sunpower Corp.

      v. United States, 179 F. Supp. 3d 1286, 1295 (Ct. Int'l Trade 2016), citing to Shenyang

      Yuanda Aluminum Indus. Eng'g Co. v. United States, 146 F. Supp. 3d 1331 (Ct. Int'l Trade

      2016), Motor Vehicle Mfrs. Ass'n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29 (1983),

      and Anderson v. U.S. Sec'y of Agric., 462 F. Supp. 2d 1333, 1339 (Ct. Int’l Trade 2006).




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59.   Commerce’s substantial transformation analysis is not based on substantial evidence. The

      materials of record before Commerce conclusively show that two-ply panels are not in the

      scope of the Orders. The source materials that Commerce rejected and did not consider

      further support that conclusion. When the record as a whole is considered, Commerce’s

      Scope Ruling is unsupported by substantial evidence. “Substantial evidence refers to ‘such

      relevant evidence as a reasonable mind might accept as adequate to support a conclusion,’

      considering any relevant evidence that fairly detracts from the reasonableness of the

      agency's determination. Sunpower Corp. v. United States, 179 F. Supp. 3d 1286, 1294 (Ct.

      Int'l Trade 2016), citing to SKF USA, Inc. v. United States, 537 F.3d 1373, 1378 (Fed. Cir.

      2008) and Universal Camera Corp. v. NLRB, 340 U.S. 474, 488 (1951).

                 DEMAND FOR JUDGMENT AND PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests judgment from the Court:

       (1) Finding that the unambiguous scope language of the Orders on hardwood plywood

from China does not cover two-ply;

       (2) Finding that the ITC’s injury investigation on hardwood plywood from China did not

cover two-ply;

       (3) Finding that Commerce unlawfully rejected relevant (k)(1) materials from its scope

analysis;

       (4) Finding that Commerce’s substantial transformation analysis was arbitrary and

capricious and unsupported by substantial evidence; and




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      (5) Granting Plaintiffs such other relief as the Court may deem appropriate.


                                           Respectfully submitted,

                                           /s/ Gregory S. Menegaz
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Dated: February 18, 2022




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